Case 20-02035-CMB      Doc 42    Filed 12/03/20 Entered 12/03/20 15:16:22          Desc Main
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                  IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                               :
IN RE:                                         :
                                               :
Nicki M. Todaro,                               :         Bankruptcy No. 19-23010-CMB
                                               :
                      Debtor.                  :         Chapter 13
__________________________________________:
                                               :
Nicki M. Todaro,                               :
                                               :
                      Plaintiff,               :
             v.                                :         Adversary No. 20-2035-CMB
                                               :
Wells Fargo Bank, N.A.,                        :         Related to Doc. Nos. 1, 10, 11,
                                               :               15, 16, 22, 24, 26, 40, 41
                        Defendant.             :
__________________________________________:
                                               :
Wells Fargo Bank, N.A.,                        :
                                               :
                      Third Party Plaintiff,   :
             v.                                :
                                               :
PNC Bank, N.A.,                                :
                                               :
                        Third Party Defendant. :
__________________________________________:

                                          ORDER

       AND NOW, this 3rd day of December, 2020, upon review of the docket and the filing at
Doc. No. 41 withdrawing the Motion of Third Party Defendant, PNC Bank National Association
to Dismiss Third Party Plaintiff’s Complaint Under Rule 12(b)(6) for Failure to State a Claim
Upon which Relief can be Granted (“Motion to Dismiss,” Doc. No. 24),
       It is hereby ORDERED, ADJUDGED, and DECREED that:
   1. The Motion to Dismiss is withdrawn.
   2. The status conference scheduled on December 9, 2020 at 11:30 A.M. is CANCELLED.
   3. On or before January 6, 2021, PNC Bank National Association shall file an answer to the
       Third Party Complaint (Doc. No. 11).
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   4. The deadlines to comply with the Early Conference of Parties Procedure set forth in the
      Order entered April 30, 2020 (Doc. No. 16), that were subsequently stayed by Text Order
      (Doc. No. 26) pending the resolution of the Motion to Dismiss, are reinstated as follows:
          a. On or before February 3, 2021, all parties to this adversary proceeding shall
              hold an Early Conference of Parties in accordance with the Undersigned’s
              Procedures. At the Early Conference, the parties shall confer on all matters
              identified in the Early Conference Certification and Stipulation (Doc. No. 15).
          b. On or before February 10, 2021, counsel for Wells Fargo Bank, N.A. shall file the
              Early Conference Certification and Stipulation completed in its entirety and signed
              by counsel for all the parties.
   5. After the Early Conference Certification and Stipulation is filed, the Court will schedule a
      first pretrial conference.



              FILED
              12/3/20 3:07 pm
              CLERK
                                                    __________________________
              U.S. BANKRUPTCY
                                                    Carlota M. Böhm
              COURT - WDPA
                                                    Chief United States Bankruptcy Judge




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